An Case 4:24-cr-00372-SEH Document

34) Filed sin USBC: ID/OK on 02/26/25 Page E
aT FILED

Car ungeatlodl Irjrof2ezy FEB 2 6 2025

idi D. G \l, Clerk
UNITED STATES DISTRICK COURT —_Heldi D. Campa SRT

Northern District of Oklahoma

AO 442 (Rev. 10/13) Arrest Warrant

United States of America
Vv.

Case No. 2 4 CR ~ 3 7
OSMAN ROLANDO SANCHEZ,
a/k/a “Nino,”

a/k/a “Nino KSR Sanchez,”

a/k/a “Osman Orlando Sanchez,” _
Defendant

ee te

ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) OSMAN ROLANDO SANCHEZ, a/k/a "Nino" a/k/a "Nino KSR Sanchez" a/k/a "Osman
Orlando Sanchez"
who is accused of an offense or violation based on the following document filed with the court:

Indictment (] Superseding Indictment [1] Information (] Superseding Information [J Complaint
L] Probation Violation Petition (J Supervised Release Violation Petition [J Violation Notice (J) Order of the Court

This offense is briefly described as follows:

COUNT ONE: 21 U.S.C. §§ 846, 841(b)(1)(A)(viii), 841(b)(1)(C), 856(b), and 843(d)(1) — Drug Conspiracy;
21 U.S.C. § 853 — Drug Forfeiture

Date: NOV 2 0 2024 — = Ss

Issuing officer's signature

City and state: Tulsa, Oklahoma Heidi D. Campbell. Court Clerk

Printed name and title

Return

This warrant was received on (date) __[{ uf tuo wu , and the person was arrested on (date) LC jes
7 t 7
At (city and state) {UbA OI

Date: AS: - of Zw

<=

Arresting officer's signature

WHétti WY SM

Printed name and title

MM/ad
